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                 In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                             No. 03-2813V
                                        Filed: September 3, 2014
                                          (Not to be Published)


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HOLLY CIOCHETTI and                *
PATRICK MACAULAY,                  *
parents of S.M., a minor,          *                                     Decision on Interim Attorneys’
                                   *                                     Fees and Costs
                                   *
                      Petitioners, *
                                   *
              v.                   *
                                   *
SECRETARY OF HEALTH AND            *
HUMAN SERVICES                     *
                                   *
                      Respondent.  *
                                   *
*************************




          DECISION AWARDING INTERIM ATTORNEYS’ FEES AND COSTS 1
        On December 12, 2003, Petitioners filed a Petition for Vaccine Compensation in the
National Vaccine Injury Compensation Program (“the Program”),2 alleging that S.M. was injured
by a vaccine or vaccines listed on the Vaccine Injury Table. See § 14. On September 2, 2014,
the parties filed a stipulation concerning interim attorney’s fees and costs in this matter. The
parties’ stipulation requests a total payment of $26,650.00, representing attorneys’ fees and costs
1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to post this
decision on the United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002,
Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As
provided by Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any information
furnished by that party (1) that is trade secret or commercial or financial information and is privileged or
confidential, or (2) that are medical files and similar files the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, “the entire” decision will be available to the
public. Id.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100
Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter,
individual section references will be to 42 U.S.C. § 300aa of the Act.


                                                          1
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of $26,500.00, and $150.00 for Petitioners’ own litigation expenses. Respondent does not object
to an award in that amount.
        I find that an award of interim attorneys’ fees and costs is appropriate in this case.
Interim attorneys’ fees and costs are explicitly authorized by the binding precedent of the United
States Court of Appeals for the Federal Circuit. Avera v. HHS, 515 F.3d. 1343; Shaw v. HHS,
609 F.3d 1372, 1374 (Fed. Cir. 2010) (“the Vaccine Act permits [an] award of interim fees and
costs”); Cloer v. HHS, 675 F.3d 1358, 1361-62 (Fed. Cir. 2012) (“Congress made clear that
denying interim attorneys’ fees under the Vaccine Act is contrary to an underlying purpose of the
Vaccine Act.”). See also Vaccine Rule 13(b).
        The request for interim attorneys’ fees and costs is hereby granted. Petitioners are
awarded reasonable interim attorneys’ fees and costs pursuant to §§ 15(b) and (e)(1), as I find
that the petition was brought in good faith and upon a reasonable basis, and the amount requested
is reasonable and appropriate. Accordingly, I hereby award the following interim attorneys’ fees
and costs pursuant to 42 U.S.C. § 300aa-15(b) and (e)(1):
        ●        a lump sum of $26,500.00, in the form of a check payable jointly to Petitioners
                 and Petitioners’ current counsel of record, Harry G. Potter, which represents
                 compensation for services performed by counsel on Petitioners’ behalf, and
                 related costs. (Included within this total is an unspecified amount to compensate
                 Petitioners’ previous counsel, Clifford J. Shoemaker, and that amount should be
                 distributed by Mr. Potter accordingly.)
        ●        a lump sum of $150.00, in the form of a check payable to Petitioners, which
                 represents petitioner’s own litigation expenses in this case.
       In the absence of a timely-filed motion for review filed pursuant to Appendix B of the
Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment in
accordance herewith.3

IT IS SO ORDERED.


                                                              /s/ George L. Hastings, Jr.
                                                                  George L. Hastings, Jr.
                                                                  Special Master




3
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review. See
Vaccine Rule 11(a).


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